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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OKLAHOMA


   (1)   ANJI BRADSHAW, as Special
         Administrator for the Estate of
         Nathan Bradshaw, deceased,

                      Plaintiff,
                                            Case No.: 17-CV-615-TCK-FHM
   v.

   (2)   ARMOR CORRECTIONAL                 ATTORNEY LIEN CLAIMED
         HEALTH SERVICES INC.,              JURY TRIAL DEMANDED

   (3)   BRUCE TEAL, in his individual
         capacity,

   (4)   JOSE ARAMAS, in his individual
         capacity,

   (5)   KENNETH PALOMBO, in his
         individual capacity,

   (6)   GINA JULES, in her individual
         capacity,

   (7)   JOHN MAY, in his individual
         capacity,

   (8)   DANA TATUM, in her individual
         capacity,

   (9)   CURTIS MCELROY, in his
         individual capacity,

                      Defendants.

                            SECOND AMENDED PETITION
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                 Plaintiff, Anji Bradshaw, as Special Administrator for the Estate of Nathan

   Bradshaw, deceased, (“Estate”) for the Estate’s cause of action against the above-named

   Defendants, would state as follows:1

                                                                   PARTIES, JURISDICTION, VENUE

                 1.             Anji Bradshaw is the Court appointed Special Administrator for the Estate

   of Nathan Bradshaw (“ESTATE”) established in Tulsa County District Court, Case No.

   PB-2016-324.

                 2.             Armor Correctional Health Services, Inc. (“ARMOR”) is a Florida for-

   profit corporation. In exchange for an annual base compensation of $5,721,909.18 from

   Tulsa County taxpayers, ARMOR contracted with the Tulsa County Board of County

   Commissioners to assume Tulsa County’s state and federal law obligation to deliver

   mental and medical health care (“Healthcare Services”) at the David L. Moss Criminal

   Justice Center (“DLMCJC”). [See Ex. 1, Health Services Agreement (“HSA”), see also

   Ex. 2, HSA Contract Extension].

                 3.             The HSA between ARMOR and Tulsa County required compliance with

   standards promulgated by the National Commission on Correctional Health Care

   (“NCCHC”) and the American Correctional Association (“ACA”).

                 4.             ARMOR is liable under state law for the actions of its agents and

   employees at the DLMCJC under a theory of respondeat superior consistent with the
   																																																													
   1
    	 Plaintiff adopts and incorporates by reference the exhibits attached to the initial Petition as if
   fully set forth herein. See Fed. R. Civ. P. 10(c). Notably, ARMOR failed to include those
   exhibits as part of the state court pleadings when it removed the case in violation of 28 U.S.C. §
   1446(a), however, ARMOR’s counsel has affirmatively represented that ARMOR will correct
   the defective removal and have those exhibits filed immediately. 	
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   common law principles set forth by the Oklahoma Supreme Court in Baker v. Saint

   Francis Hosp., 2005 OK 36, 126 P.3d 602.

          5.     BRUCE TEAL, JOSE ARAMAS, KENNETH PALOMBO, GINA JULES,

   JOHN MAY, and DANA TATUM (hereinafter collectively referred to as the “Board

   Employees”), are or were members of ARMOR’s Board of Directors, the entity with final

   policymaking authority for enactment and implementation of ARMOR’s policies and

   practices. The Board members are sued in their individual capacity.

          6.     CURTIS MCELROY (“MCELROY”), is or was an agent or employee of

   ARMOR used to staff a physician position at the DLMCJC. MCELROY is sued in his

   individual capacity.

          7.     At all times relevant hereto, the Defendants were acting in a capacity

   sufficient to bring them within the statutory authority of 42 U.S.C. § 1983.

          8.     Within one year of the date of loss, ESTATE timely served ARMOR with a

   Title 57 Notice on November 9, 2016. More than ninety (90) passed with no response

   from ARMOR. Thereafter, suit was timely initiated in state court. There are no additional

   administrative procedures for the ESTATE to exhaust.

          9.     As a private corporation, ARMOR is not entitled to any exemption from

   liability set forth in the Oklahoma Governmental Tort Claims Act (“GTCA”), 51 O.S. §

   151 et seq. See Sullins v. American Med. Resp. of Okla., 2001 OK 20, 23 P.3d 259.

          10.    The events described below occurred in Tulsa County, Oklahoma, making

   venue proper, complete diversity exists, ESTATE seeks in excess of $75,000.00, and this



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   Court has original federal question jurisdiction arising from the allegations in this

   pleading.

                                     STATEMENT OF FACTS

                           THE PUBLIC-PRIVATE BUSINESS MODEL

          11.    ARMOR has a business model that generates revenue through

   governmental contracts premised on “capitated financing.” Through these contracts,

   ARMOR assumes responsibility for the government’s obligation to provide Healthcare

   Services to people who are not free to seek out healthcare for themselves.

          12.    Under a contract using a “capitated financing” approach, also known as a

   “full-risk” contract, the contractor bears the full risk that the medical care costs may

   exceed the presumptive cost-per-prisoner estimate that dictates the agreed-upon contract

   price. Because assumptions regarding adequate staffing, costs for medication, and other

   relevant variables are all factored into the medical-cost-per-prisoner amount that serves

   as the basis for the pricing of the contract, and the contractor agrees to receive a fixed

   sum of money, regardless of how much or how little care it ultimately must provide to

   prisoners in performing the contract, the contractor’s profit margin directly depends upon

   the amount of care it provides.

          13.    To obtain these contracts, ARMOR submits bids to government vendors

   like Tulsa County. If awarded the contract, ARMOR provides Healthcare Services in

   return for payment by the government vendor.

          14.    For ARMOR to achieve positive revenue from its contract, ARMOR must

   provide Healthcare Services at a net profit.

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                 15.            To achieve net profits, ARMOR implements policies, procedures, customs,

   or practices to reduce the cost of Healthcare Services in a manner that will maintain or

   increase its profit margin.

                 16.            There are no provisions in ARMOR’s contract with Tulsa County creating

   or establishing any mandatory minimum expenditure for the provision of Healthcare

   Services.

                 17.            ARMOR’s contract with Tulsa County incentivized cost-cutting measures

   in the delivery of Healthcare Services at the DLMCJC to benefit ARMOR’s shareholders.

                                                                   IN-CUSTODY SUICIDE

                 18.            According to the United States Department of Justice, suicide is the leading

   cause of death in jails, accounting for 34% of jail deaths in 2013. See U.S. Dept. of

   Justice, Office of Justice Programs, Bureau of Justice Statistics, MORTALITY                    IN   LOCAL

   JAILS AND STATE PRISONS, 2000-2013 – STATISTICAL TABLES, Aug. 2015.2

                 19.            Suicide has been the leading cause of death in local jails each year since

   2000, the first year the Department of Justice began collecting data. From 2009 to 2013,

   the suicide rate in jail facilities increased by 23%.

                 20.            From 2000 to 2013, suicide has been a more prevalent cause of death in

   local jail facilities than heart disease, AIDS-related illness, cancer, liver disease, and

   respiratory disease.

                 21.            The vast majority of suicides occur in a jail cell, usually when the person is

   alone and unsupervised. Suicides often involve bed sheets.
   																																																													
   2
       	See   https://www.bjs.gov/content/pub/pdf/mljsp0013st.pdf (last visited March 7, 2017)	
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          22.    On    March      13,   2016,   records   indicate   that   Nathan    Bradshaw

   (“BRADSHAW”) was discovered in his cell at the DLMCJC hanging with a bed sheet

   wrapped around his neck. He died from his injuries three days later.

          23.    As described in greater detail below, BRADSHAW’s death was

   preventable and caused by or contributed to by acts or omissions that are fairly traceable

   to ARMOR, its agents, and employees, its policies, practices, customs and usages, and

   individual acts or omissions committed by its agents or employees.

                           ADMISSION AND RECEIVING SCREENING

                                          MARCH 8, 2016

          24.    Records show that BRADSHAW was arrested and booked into the

   DLMCJC at 7:05 p.m. [See Ex. 3, Booking Detail].

          25.    In two minutes, from 8:09 p.m. to 8:11 p.m., records show that

   BRADSHAW was given a 152-question Receiving Screening by a Licensed Practical

   Nurse (“LPN”) employed by ARMOR. Many of questions were not fully answered. [See

   Ex. 4, Receiving Screening].

          26.    A “receiving screening” is defined by the NCCHC as a process of

   structured inquiry and observation intended to prevent newly arrived inmates who pose a

   threat to their own or others’ health, mental health, or safety from being admitted to the

   general population, and to get them rapid medical or mental health care. See NCCHC

   Standard, MH-E-02 (Essential).

          27.    During the Receiving Screening, BRADSHAW alerted ARMOR’s LPN of

   the following: (1) that he used heroin daily; (2) that he recently injected drugs; (3) that he

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   had received mental health treatment for bipolar disorder, manic depressive disorder, and

   borderline personality disorder; (4) that he had been inpatient at 12 & 12, a mental health

   facility for substance abuse; (5) that he currently has problems with heroin; and (6) that

   he had previously been in the facility in 2015. [See Ex. 4, pp. 2, 4-6].

          28.    Records from BRADSHAW’s prior detentions at the DLMCJC were

   available to ARMOR’s employees during the Receiving Screening. Those records

   included a section titled, “Alerts.”

          29.    Records show that BRADSHAW’s Alert history included the following: (1)

   withdrawal history; (2) seizure precautions; and (3) chronic care – neurology. [See Ex. 5,

   Alerts].

          30.    Records show the LPN who conducted the Receiving Screening approved

   BRADSHAW for assignment in general population. [See Ex. 4, p. 7].

          31.    During admission, records also show that BRADSHAW completed a

   Classification Evaluation Questionnaire (“CEQ”). The CEQ notes that BRADSHAW was

   previously detained at the DLMCJC, and that he suffered from a mental, physical or

   developmental disability. [See Ex. 6, Classification Evaluation Questionnaire].

          32.    At 10:46 p.m., records show that BRADSHAW was initially assigned to

   cell DLM-M-1-J14-B. This cell is located in a general population housing unit. [See Ex.

   7, Inmate Classification].




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        INADEQUATE TREATMENT PROTOCOLS AND INDIFFERENCE TO ADHERENCE

                                        MARCH 9, 2016

          33.    At 6:16 a.m., records show that BRADSHAW was placed on an “Opiate

   Detox Prevention Protocol” on telephone orders from a Nurse Practitioner. [See Ex. 8].

          34.    Records show an LPN also entered a Clonidine prescription for

   BRADSHAW at 6:17 a.m. on orders from Dr. Thomas Gable, Jr. [See Ex. 8, Medical

   History, see also Ex. 15, Medication Orders]. The Clonidine orders instructed ARMOR

   to administer the medication twice a day for four (4) days. [See Ex. 15].

          35.    Records show that ARMOR was scheduled to administer the first dose of

   Clonidine to BRADSHAW at 12:26 p.m., but failed to do so because BRADSHAW was

   “in court.” [See Ex. 11]. The Jail Shift Log shows BRADSHAW returning to the housing

   unit at 1:18 p.m. [See Ex. 12].

          36.    There is no indication from the MAR that ARMOR provided BRADSHAW

   with Clonidine on March 9, 2016. [See Ex. 11].

          37.    At 6:17 a.m., records also show that ARMOR ordered a Drug and Alcohol

   Assessment with a follow-up each day for six (6) days. [See Ex. 8, p. 2, Medical History,

   March 2016]. The subsequent flowsheet used by ARMOR was labeled “CIWA”, or

   Clinical Institute Withdrawal Assessment.

          38.    A CIWA is used to assess withdrawal from alcohol, but BRADSHAW

   denied using alcohol during the receiving screening. ARMOR did not assess

   BRADSHAW using a Clinical Opiate Withdrawal Scale (“COWS”), which is used to

   evaluate opiate withdrawal.

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          39.    Although ordered at 6:17 a.m., ARMOR did not initiate the CIWA until

   approximately 38 hours later, on March 10, 2016 at 8:18 p.m. [See Ex. 8, p. 2].

          40.    By the end of March 9, 2016, records show that ARMOR had failed to

   administer 2 of 2 doses of Clonidine.

                                        MARCH 10, 2016

          41.    Records show that BRADSHAW received his first dose of Clonidine at

   8:53 a.m. [See Ex. 11].

          42.    At 4:39 p.m., records show that BRADSHAW was evaluated by ARMOR

   for a painful left forearm that included swelling, and redness. [See Ex. 9, Sick Call]. The

   record indicates that BRADSHAW told the physician that he missed a vein when

   attempting to use drugs on March 8, 2016.

          43.    In response, ARMOR put BRADSHAW on a regime of opiate-based

   Codeine for administration three times a day for five (5) days [See Ex. 9].

          44.    ARMOR ordered opiated-based narcotics for BRADSHAW despite records

   indicating that it had already initiated an Opiate Detox Prevention Protocol on the

   morning of March 9, 2016 that did not include opiate-based medication.

          45.    Records show that ARMOR checked-out Codeine to administer to

   BRADSHAW on the following dates and times:

                                (1) March 10, 2016 at 4:30 p.m.;

                                (2) March 10, 2016 at 9:00 p.m.;

                                (3) March 11, 2016 at 5:00 a.m.;

                                (4) March 11, 2016 at 1:00 p.m.;

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                                 (5) March 11, 2016 at 10:00 p.m.;

                                 (6) March 12, 2016 at 9:00 a.m.;

                                 (7) March 12, 2016 at 1:07 p.m.; and

                                 (8) March 12, 2016 at 9:00 p.m.

    [See Ex. 10, Controlled Substance Inventory]

           46.    The Controlled Substance Inventory shows that ARMOR checked out one

    dose of opiate-based Codeine for administration to BRADSHAW before his CIWA at

    8:18 p.m., but it does not appear on the MAR. The disposition of this dose of Codeine is

    not accounted for in the MAR or in the Controlled Substance Inventory.

           47.    Records show that ARMOR administered the first CIWA 8:18 p.m. The

    CIWA noted that BRADSHAW presented with mild nausea and no vomiting, mild

    anxiety, mild itching, pins and needles, burning or numbness, and moderately severe

    hallucinations. [See Ex. 8, pp. 2-4].

           48.    The MAR shows that BRADSHAW was not medically fit to receive his

    second dose of Clonidine at 9:09 p.m., but the MAR does show administration of the first

    dose of Codeine at 11:34 p.m. [See Ex. 11].

           49.    By the end of March 10, 2016, records show that ARMOR had not

    administered 3 of the 4 doses of Clonidine, and the records do not account for 2 of the 3

    doses of Codeine.

                                            MARCH 11, 2016

           50.    The MAR shows that BRADSHAW received his second dose of Codeine at

    5:43 a.m. [See Ex. 11].

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           51.    At 6:48 a.m., records show that ARMOR repeated the CIWA. The CIWA

    noted moderate tremors, some agitation, and mild joint discomfort. [See Ex. 8, pp. 4-6].

           52.    At 9:50 a.m., the MAR shows that BRADSHAW received his second dose

    of Clonidine. [See Ex. 11].

           53.    Records show that ARMOR repeated the CIWA at 12:16 p.m. The CIWA

    noted mild nausea with no vomiting, mild hallucinations, and mild sensitivity to light.

    [See Ex. 8, pp. 6-8].

           54.    Although the Controlled Substance Inventory noted that a dose of Codeine

    was checked out for administration to BRADSHAW at 1:00 p.m., the MAR does not

    identify any Codeine given near this time. The disposition of this dose of Codeine is not

    accounted for in the MAR or in the Controlled Substance Inventory.

           55.    The MAR shows that BRADSHAW was not medically fit to receive his

    third dose of Clonidine at 9:20 p.m.

           56.    The MAR shows that BRADSHAW did not receive his third dose of

    Codeine until 11:31 p.m. [Id]. This is the fifth dose of Codeine listed on the Controlled

    Substance Inventory.

           57.    By the end of March 11, 2016, records show that ARMOR had not

    administered 4 of the 6 doses of Clonidine, and the records do not account for 3 of the 6

    doses of Codeine.

                                           MARCH 12, 2016

           58.    Although the Controlled Substance Inventory noted that a dose of Codeine

    was checked out for administration to BRADSHAW at 9:00 a.m., the MAR does not

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    identify any Codeine given near this time. The disposition of this dose of Codeine is not

    accounted for in the MAR or in the Controlled Substance Inventory.

           59.    There is no record in the MAR of BRADSHAW receiving any Clonidine at

    all on March 12, 2016. [See Ex. 11].

           60.    There is no record of ARMOR conducting a CIWA on the morning or

    afternoon of March 12, 2016 as originally ordered.

           61.    Records show that BRADSHAW refused lunch at 12:32 p.m. [See Ex. 12,

    Jail Shift Report].

           62.    The MAR shows that BRADSHAW did not receive his fourth dose of

    Codeine until 1:25 p.m. [See Ex. 11, p. 3]. This is the seventh dose of Codeine listed on

    the Controlled Substance Inventory.

           63.    Sometime before 4:01 p.m., records show that BRADSHAW submitted an

    Inmate Request Form that was received by Detention Officer Oyedele. It reads:

           I need to speak to someone in Mental Health. My anxiety is unbearable and
           has kept me from sleeping and caused me to pace around restlessly and hear
           things.

    [See Ex. 13, Inmate Request Form; see also Ex. 12, Jail Shift Report].

           64.    There is no documented response to the request.

           65.    Records show that ARMOR repeated the CIWA at 6:42 p.m. The CIWA

    noted intermittent nausea but no anxiety. [See Ex. 8, pp. 8-10].

           66.    Although the Controlled Substance Inventory notes an eighth dose of

    Codeine was checked out for administration to BRADSHAW at 9:00 p.m., the MAR does



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    not identify any Codeine given near this time.	The disposition of this dose of Codeine is

    not accounted for in the MAR or in the Controlled Substance Inventory.

           67.    By the end of March 12, 2016, records show that ARMOR had not

    administered 6 of the 8 doses of Clonidine, and the records do not account for 5 of the 9

    doses of Codeine.

                                  CONCLUSION OF DETENTION

           68.    Records indicate that BRADSHAW left the housing unit for medical at

    9:21 p.m., and returned at 10:05 p.m. Records indicate the housing unit was locked down

    at 10:31 p.m. [See Ex. 12].

           69.    Records indicate the Detention Officer failed to perform sight checks of

    BRADSHAW’s cell in violation of Oklahoma Jail Standard 310:670-5-2(3). At

    approximately 12:11 a.m. on March 13, 2016, records indicate the new guard on duty

    found BRADSHAW unresponsive and hanging in his cell.

           70.    The Detention Officer admitted that he made phantom entries into the

    computer system to give the appearance that sight checks were done, when he knew the

    opposite was true.

           71.    Records indicate that BRADSHAW was transported to OSU Regional

    Medical Center at 00:32 hours on March 13, 2016. [See Ex. 14, Emergency Department

    Transfer Notification].

           72.    The inconsistent use of Clonidine and Codeine, particularly the failure to

    adhere to the treatment regime relative to a person known to have an opioid addiction, in



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    combination with inadequate assessments, and delayed mental health responses,

    substantially increased the risk of harm to BRADSHAW.

           73.     BRADSHAW remained at OSU in the ICU until March 16, 2016. He is

    survived by his mother, father, siblings, and numerous friends and family members.

          POLICYMAKING MAKING AND INDIFFERENCE TO CORPORATE PRACTICES

           74.    Board Employees had final policymaking authority relative to ARMOR’s

    operation and implementation of the HSA.

           75.    In furtherance of its capitated financing contract, Board Employees adopted

    written policies or unwritten practices dictating that care was provided based on medical

    cost and not medical need. This practice evinces deliberate indifference by displacing

    constitutional obligations in favor of corporate profits.

           76.    These policies or practices include, but are not limited to the following:

                  a)     chronic reliance on lower-level providers e.g., practical nurses

                         instead of nurses or physicians, to make threshold decisions

                         regarding care or elevating care;

                  b)     chronic reliance on temporary staff, who lack training or experience

                         in a correctional setting, to fill medical vacancies;

                  c)     chronic understaffing that impairs the ability of existing staff to

                         complete contracted tasks in a timely manner;

                  d)     chronic understaffing that prevents ARMOR from timely responding

                         to inmate requests for mental health care;



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                  e)     absence of accountability in the administration of physician

                         prescribed medication;

                  f)     longstanding tolerance for routine lapses in continuity of care in the

                         administration of medication;

                  g)     tolerating physician use of alcohol withdrawal protocols (CIWA),

                         for arrestees detoxing from opioid use (COWS); and

                  h)     chronic failure to correct known deficiencies in the delivery if

                         adequate healthcare services which were previously identified to

                         ARMOR by governmental partners in Oklahoma and other

                         jurisdictions.

           77.    Board Employees received reports from various auditors and inspectors in

    connection with the performance of ARMOR’s contracts, and those reports have detailed

    deficiencies in the adequacy of healthcare provided by ARMOR.

           78.    These reports provided Board Employees with actual knowledge of the

    deficiencies in ARMOR’s delivery of healthcare, and despite receiving that information,

    the Board Employees failed to adequately address those deficiencies.

           79.    ARMOR relied upon these policies or practices in executing the HSA in

    Tulsa County, and the application of these policies or practices substantially increased the

    risk of suicide to BRADSHAW.




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                     ABSENCE OF FEDERALISM BARRIER TO MONELL CLAIM

           80.     The federalism concern that compelled the Monell Court to erect a bar

    against respondeat superior liability for 1983 claims against municipal entities has no

    application here. See e.g., Shields v. Illinois Dept. of Corrections, 746 F.3d 782, 795 (7th

    Cir. 2014) (“[A] new approach may be needed for whether corporations should be

    insulated from respondeat superior liability under § 1983.”).

                                     STATEMENT OF CLAIMS

                  DELIBERATE INDIFFERENCE - CONDITIONS OF CONFINEMENT
                                      ENTITY CLAIM
                                     42 U.S.C. § 1983

           81.     ESTATE adopts and incorporates by reference the preceding paragraphs as

    if fully set forth herein.

           82.     ARMOR, through its written policies or unwritten practices, exhibited

    deliberate indifference to the provision of medical care at the DLMCJC that resulted in

    the deprivation of BRADSHAW’s rights as secured by the Fourteenth Amendment to the

    United States Constitution for which ARMOR is liable pursuant to 42 U.S.C. § 1983.

                  DELIBERATE INDIFFERENCE - CONDITIONS OF CONFINEMENT
                               RESPONDEAT SUPERIOR CLAIM
                                     42 U.S.C. § 1983

           83.     ESTATE adopts and incorporates by reference the preceding paragraphs as

    if fully set forth herein.

           84.     ARMOR, through its agents and/or employees, exhibited deliberate

    indifference to the provision of medical care at the DLMCJC that resulted in the



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    deprivation of BRADSHAW’s rights as secured by the Fourteenth Amendment to the

    United States Constitution for which ARMOR is liable pursuant to 42 U.S.C. § 1983.

                  DELIBERATE INDIFFERENCE - CONDITIONS OF CONFINEMENT
                                    INDIVIDUAL CLAIM
                                     42 U.S.C. § 1983

            85.    ESTATE adopts and incorporates by reference the preceding paragraphs as

    if fully set forth herein.

            86.    TEAL, ARAMAS, PALOMBO, JULES, MAY, and TATUM exhibited

    deliberate indifference to the provision of medical care at the DLMCJC that resulted in

    the deprivation of BRADSHAW’s rights as secured by the Fourteenth Amendment to the

    United States Constitution for which these Defendants are liable pursuant to 42 U.S.C. §

    1983.

                                  DELIBERATE INDIFFERENCE
                                     INDIVIDUAL CLAIM
                                       42 U.S.C. § 1983

            87.    ESTATE adopts and incorporates by reference the preceding paragraphs as

    if fully set forth herein.

            88.    MCELROY exhibited deliberate indifference to the provision of medical

    care at the DLMCJC that resulted in the deprivation of BRADSHAW’s rights as secured

    by the Fourteenth Amendment to the United States Constitution for which these

    Defendants are liable pursuant to 42 U.S.C. § 1983.




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                                         SURVIVAL ACT
                                          STATE LAW

           89.     ESTATE adopts and incorporates by reference the preceding paragraphs as

    if fully set forth herein.

           90.       Pursuant to 12 O.S. § 1051, the decedent’s right of survival arising from

    the wrongful and intentional conduct by ARMOR, Board Employees, and McELROY, is

    held by Anji Bradshaw, the legal representative of the Estate of Nathan Bradshaw.

    Plaintiff, Anji Bradshaw demands all damages recoverable under the Act, including

    damages for funeral and medical expenses and conscious pain and suffering, as well as

    any other damages recoverable under the Act.

                                       WRONGFUL DEATH
                                         STATE LAW

           91.     ESTATE adopts and incorporates by reference the preceding paragraphs as

    if fully set forth herein.

           92.     ESTATE’s claims are actionable under the Oklahoma Wrongful Death Act,

    12 O.S. § 1053. Such claims are distinguishable from Survival Actions in Oklahoma. See

    Boler v. Security Health Care, L.L.C., 2014 OK 80, 336 P.3d 468.

           93.     As a direct result of the wrongful acts of ARMOR, Board Employees, and

    McELROY, the next of kin of the decedent is entitled to incurred burial expenses, loss of

    the pecuniary value of services expected to be performed by the decedent and other

    damages recoverable under the wrongful death statute including, but not limited to

    solatium damages.



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                                          NEGLIGENCE
                                           STATE LAW

           94.     ESTATE adopts and incorporates by reference the preceding paragraphs as

    if fully set forth herein.

           95.     ARMOR owed a duty of reasonable care in the management of

    BRADSHAW’s medical condition consistent with its contract and the standards

    promulgated by the Oklahoma State Department of Health Jail Inspection Division, the

    ACA standards for Adult Local Detention Facilities, and standards published by the

    NCCHC.

           96.     ARMOR breached that duty through the conduct detailed above, which

    includes, but is not limited to, the failure to conduct a complete receiving screening, the

    failure to base the classification recommendation upon a complete receiving screening,

    the failure to conduct a COWS, the use of a CIWA to assess an opiate addict, the failure

    to adhere to prescribed medications used as part of an opiate withdrawal protocol, the

    inconsistent administration of medication, the use of opiate-based Codeine while

    implementing a non-opioid withdrawal protocol, and the failure to deliver mental health

    care in a timely manner.

           97.     The ESTATE has suffered damages as a direct and proximate result of

    these acts or omissions, for which ARMOR is liable.




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                                      REQUEST FOR RELIEF

           98.     Based on the foregoing allegations, the ESTATE respectfully requests the

    following relief:

           A.     Compensatory damages against all Defendants in an amount that exceeds

                  $75,000.00;

           B.     Punitive damages against all Defendants in an amount that exceeds

                  $75,000.00;

           C.     Nominal damages against all Defendants for the deprivation of rights

                  secured by the constitution or laws of the United States;

           D.     Declaratory judgment determining that Defendants’ acts or omissions

                  violated the constitutional rights of Plaintiff’s decedent;

           E.     An award of reasonable attorney’s fees and costs;

           F.     Any other relief permitted by law;

           G.     Any other relief the Court deems just and equitable.

                                                       Respectfully submitted,

                                                       BRYAN & TERRILL

                                               By:     s/J. Spencer Bryan
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                                                       Bradshaw


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                               CERTIFICATE OF SERVICE

          I hereby certify that on January 15, 2018, I served the foregoing on the following
    persons:

    Mr. Josh Romero
    jromano@johnsonhanan.com


                                                   J. Spencer Bryan
                                                   J. Spencer Bryan




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